Case: 4:12-cr-00051-JG Doc #: 162 Filed: 11/05/14 1 of 3. PageID #: 808


UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                      :
UNITED STATES OF AMERICA                              :                CASE NO. 4:12-CR-00051
                                                      :
                  Plaintiff,                          :
                                                      :
    v.                                                :                ORDER
                                                      :                [Resolving Doc. 159]
JOHN BOWERS,                                          :
                                                      :
                  Defendant.                          :
                                                      :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

         On June 26, 2012, Defendant John Bowers was sentenced to 50 months’ imprisonment for

conspiring to distribute less than 28 grams of cocaine base in violation of 21 U.S.C. §§ 841(b)(1)(c)

and 846 with a § 851 enhancement.1/ Bowers has now filed a motion for credit against his sentence

for time he says he spent in federal custody surrounding the resolution of the federal charges against

him.2/ The government opposes Bowers’s motion.3/ As described below, Bowers’s motion is not

properly before the Court, and the Court therefore DENIES it.

         In February 2012, when Defendant Bowers was indicted in this federal case, he was serving

an unrelated two year state sentence.4/ Also in February 2012, the United States sought, and the

Court granted, a writ of habeas corpus ad prosequendum.5/ On June 26, 2012, the Court sentenced

Bowers to 50 months’ imprisonment along with a term of supervised release and a special




         1/
          Doc. 132. The sentence also included a term of supervised release and a special assessment. Id.
         2/
          Doc. 159.
         3/
          Doc. 161.
         4/
          Docs. 159 at 1, 161 at 2 n.1.
         5/
          Docs. 8, 20.
Case: 4:12-cr-00051-JG Doc #: 162 Filed: 11/05/14 2 of 3. PageID #: 809


Case No. 4:12-CR-00051
Gwin, J.

assessment.6/

         After his sentencing hearing, Bowers was returned to state custody.7/ In December 2013,

Bowers completed his state sentence and was transferred back to federal custody.8/ Bowers claims

that he is entitled to credit against his federal sentence for the several month period when he was in

federal custody pursuant to the writ of habeas corpus ad prosequendum.

         Under 18 U.S.C. § 3585(b)(2), a defendant is entitled to “credit toward the service of a term

of imprisonment for any time he has spent in official detention prior to the date the sentence

commences-- as a result of any other charge for which the defendant was arrested after the

commission of the offense for which the sentence was imposed; that has not been credited against

another sentence.”9/

         The government suggests that Bowers is not entitled to credit against his federal sentence for

the time period in question because the state counted this period towards his state sentence.10/ But

as the government also points out, that determination is not initially for the Court to make. Rather,

whether a defendant is entitled to credit against a federal sentence for time served is first determined

by the Bureau of Prisons.11/ In this case, the Bureau has determined that Bowers is not entitled to

credit for the months in question.12/




         6/
          Doc. 132.
         7/
          Doc. 161 at 2-3. The government does not say when specifically after the hearing Bowers was returned to state
custody, while Bowers himself says that his return occurred in July 2012. Doc. 159 at 2.
         8/
          Docs. 159 at 2, 161 at 2-3 & n.2.
         9/
          18 U.S.C. § 3585(b)(2).
         10/
              Doc. 161 at 4-5.
         11/
              United States v. Wilson, 503 U.S. 329, 335 (1992).
         12/
              See Doc. 159 at 2.
Case: 4:12-cr-00051-JG Doc #: 162 Filed: 11/05/14 3 of 3. PageID #: 810


Case No. 4:12-CR-00051
Gwin, J.

         Prisoners who are dissatisfied with the Bureau’s calculation may administratively appeal.13/

After doing so, but only after doing so, they may seek review of the Bureau’s determination in

federal district court.14/ The proper mechanism for a prisoner to obtain judicial review after

exhausting his administrative remedies is to petition for a writ of habeas corpus challenging the

execution of his sentence under 28 U.S.C. § 2241.15/ Unlike challenges to the validity of convictions

under 28 U.S.C. § 2255, which must be brought in the sentencing court,16/ challenges under § 2241

must be brought in the district where the prisoner is confined.17/

         Here, there is no indication that Bowers has exhausted his administrative remedies.

Moreover, once he has, the proper court for a § 2241 petition would be the district court in the

Pennsylvania district that contains FCI Allenwood, where Bowers is incarcerated.18/

         For the above reasons, the Court DENIES Bowers’s motion.

         IT IS SO ORDERED



Dated: November 5, 2014                                         s/       James S. Gwin
                                                                JAMES S. GWIN
                                                                UNITED STATES DISTRICT JUDGE




         13/
           See 28 C.F.R. §§ 542.10-542.18.
         14/
           United States v. Oglesby, 52 F. App’x 712, 714 (6th Cir. 2002).
         15/
           Id; see 28 U.S.C. § 2241.
         16/
           28 U.S.C. § 2255.
         17/
             See Rumsfeld v. Padilla, 542 U.S. 426, 447 (2004) (“Whenever a § 2241 habeas petitioner seeks to challenge
his present physical custody within the United States, he should name his warden as respondent and file the petition in
the district of confinement.”) (citations omitted).
         18/
           See Doc. 161 at 4.
